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Exhibit A
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
—-—--—-———-———— —— moo ee ee ee ee eX
AUTOMOBILE CLUB OF NEW YORK INC.

d/b/a AAA NEW YORK and AAA NORTH
JERSEY, INC.

Plaintiffs,

-against- Case No.
11-CV-6746 (RKE)

THE PORT AUTHORITY OF NEW YORK
AND NEW JERSEY,

Defendant.
He eee EE EE x

** CONFIDENTIAL **

November 29, 2012
9:32 a.m.
370 Lexington Avenue

New York, New York

CONFIDENTIAL DEPOSITION of THE PORT
AUTHORITY OF NEW YORK AND NEW JERSEY, the
Defendant herein, by MICHAEL FABIANO, taken by
the Plaintiffs, pursuant to the Federal Rules
of Civil Procedure, and Notice, held at the
above-mentioned time and place, before Kristi
Cruz, a Notary Public of the State of New

York.

 

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2 APPEARANCES:

3
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New York, New York 10017
6
BY: KEVIN P. MULRY, ESQ.
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10 Attorneys for Defendant
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11 New York, New York 10166-0193
12 BY: ALEXANDER H. SOUTHWELL, ESQ.
-and-
13 NANCY HART, ESQ.
-and-
14 ADAM COHEN, ESQ.
15
16
17 ALSO PRESENT:
18 MARTA GENOVESE, ESQ., In-House
Counsel and Vice President,
19 AAA New York
20
21
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23
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M. FABIANO - CONFIDENTIAL

Port Authority as the ITN?

A Correct.

Q Today during the deposition I will
be referring at times to the ITN. When I
refer to that, I will be referring to the

Interstate Transportation Network.

A Correct.

Q That's okay?

A Uh-huh, yes.

Q Are you involved in capital

planning for The Port Authority?

A Not direct project planning. My
role as the chief financial officer is to
advise on capital capacity.

Q What does the term capital
capacity mean?

A It means that you decide how much
you can afford to spend on capital over a
period of time and still meet all your bond
covenants, because you're going to be
financing some of that with debt, and maintain
your rating agency.

So for us, capital capacity is

maintaining your credit ratings, as well as

 

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being able to finance the capital that you
need.

Q When you look at capital capacity,
do you look at a capital capacity for each of
the line departments within The Port
Authority?

A No. The Port Authority is
comprehensive, consolidated.

Q Is it correct that when you look
at capital capacity, you are looking at

capital capacity for the entire Port

Authority?
A Correct.
om When I use the term line

departments, does that term mean something to

you within the context of The Port Authority?

A Yes.

Q What does the term line department
mean?

A It's the primary lines of

operational business of The Port Authority;
the aviation department, port department,
World Trade Center, and the ITN network and

the development department or economic

 

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analysis and not separate analyses of the
separate line departments?

A We run revenue and expense by line
departments and by facility as informational
reports to understand budget variances. If
that's your question, the answer is yes, we
look at that monthly and we see revenues and
expenses and allocated expenses on a facility
basis to understand where the money, revenues
are coming from and where they're not and
where the expenses are coming from.

Q But with respect to capital
Capacity, is it correct you look just at the
entire Port Authority and not the separate
line departments?

A Correct.

Q With respect to the analysis, any
analysis that was being done with respect to
the 2011 toll increase, was any of that

analysis done based on separate line

departments?
A No.
Q So is it correct that any

financial analysis with respect to the toll

 

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increase was a look by The Port Authority at
the entire Port Authority?
MR. SOUTHWELL: Object to
the form.

Q And not separate line departments?

MR. SOUTHWELL: What
specifically is your question? Is
your question specifically
about -- I'm sorry, I'm just not
sure that I understand it.

Q Do you understand the question?

A No.

MR. MULRY: Could you read
it back?

(Record read.)

Q Do you understand the question?

A About the toll and fare increase,
that was looked at what additional revenues
provide additional capacity for the entire
Port Authority across all business, so ina
corporate level.

Q Does The Port Authority do any
analysis with respect to lines of business

that benefit from a given project when you

 

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see where those dollars get expended through
the entire Port Authority, meaning for

operating expenses, for capital expenditures,
for payment of debt service, and for payment

to reserve funds or other expenses?

A No.
Q Why is that?
A You're recognizing revenues when a

revenue is earned, but the cash may not have
come into The Port Authority. We also do not
have individual bank accounts to track dollars
individually by facility, by item. There's
more than one thing that goes into the toll
side of the house. There's, in addition to
tolls, you have some incremental revenues that
come in from other areas, such as fiberoptic
lines and things like that, or concessions, if
there's any concessions in buildings. So the
answer is no.

Q If you took all revenues
attributable to the ITN on an earned basis,
could you then follow whether those revenues,
where those revenues were spent within The

Port Authority?

 

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A Once again, the dollars are just
put in a single bank account, a general bank
account or several bank accounts that roll up
general bank accounts, for credit cards and
things like that, not individual facility by
facility specific accounts, where those
dollars are only applied to those facility
expenditures, the answer is no.

Q So are all revenues for The Port
Authority, all line departments of The Port
Authority, deposited in a single bank?

MR. SOUTHWELL: Object.

A Several bank accounts that roll up
and they cleared out depending -- like for
parking lot operations and things like that,
they're collected there, credit card
operations, and then they roll up into the
major account.

Q So just so I understand, if I
understand correctly, there's one general bank
account that would collect all Port Authority
revenue from all line departments; is that
correct?

A We roll up into a main Citibank

 

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2 account, all the accounts, all the individual
3 accounts that may exist. There may be 20, 30
4 smaller accounts not based on specific
5 facilities, for specific purposes, and then

6 the accounts are swept routinely, such as a

7 bill goes out, it goes to a lockbox. The

8 lockbox receipts are eventually swept into The
9 Port Authority, what we call a main account.

10 That's pretty much the way it works.

11 Q Again, just so I understand, is it
12 correct that what you're saying is that a
13 revenue from one of the line departments of

14 The Port Authority may go through some bank
15 account or bank accounts or lock boxes, but

16 ultimately those revenues get to the one

17 general account?
18 A Yes.
19 Q Would there be a way for The Port

20 Authority to direct 100 percent of the toll
21 revenue into the line departments that

22 comprise the ITN?

23 MR. SOUTHWELL: Object to
24 the form. I'm not sure what you
25 mean by direct the revenue.

 

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Q Do you understand the question?
A No.
Q Could The Port Authority direct

100 percent of PATH revenue into PATH?

A No.
Q Why not?
A I just explained, all the revenues

come in, there's timing differences between
actual collections and actual expenditures and
accruals, you're following GAAP accounting
when you recognize revenues and expense.

We're not following cash flow accounting and
cash basis accounting, and we do it, once
again, on a pooled revenue concept. So all
the revenues flow in and all the expenditures
are made accordingly.

Q Are ITN revenues transferred to
reserve funds each year?

A No. Pooled revenues of The Port
Authority are, to the degree there are excess
revenues after the payment of operating
expenses, debt service, are then available to
be able to flow into, A, first meeting the ten

percent general reserve fund sizing

 

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When you were going through the
19 process you described in examining the numbers
20 and looking at whether a toll increase was

21 needed, were you looking at the financial

22 projections and financial data for the entire
23 Port Authority?

24 A Yes.

25 Q During that process, were you

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looking at the line departments that comprise
the ITN in isolation to see if a toll increase
was necessary?

A No.

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2 A ITN direct operating expenses,

3 agency allocated expenses that are applied to
4 the ITN, you look at the debt service, and

5 then you look at the capital expenditures,

6 Similar to my Exhibit B. As you can see from
7 that, what we do from a corporate level is

8 just spread it and there's no debt service put
9 in there, the capital expenditure is not put
10 in there, it's an income statement, so it's
11 not capturing the full picture.
12 Based on the ITN affidavit that we
13 put together, we created what amounts to a
14 cash flow for the ITN, and that reinforces our
15 statement that the dollars are all being
16 expended and there are insufficient dollars to
17 generate the surplus and profits that was part

18 of the lawsuit.

19 QO The cash flow for the ITN, you're
20 referring to Exhibit B to your affidavit in

21 this case?

22 A Yes.

23 Q Was that created sometime after

24 September 2011?

25 A That was created in response to

 

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2 the AAA lawsuit.
3 Q Had such a cash flow analysis for
4 the ITN ever been done before at The Port

5 Authority, to your knowledge?

6 A Not to that level.
7 Q Had it been done to any level?
8 A Just, as I said, looking at the

9 GAAP income statements, and then when you

10 layer on those GAAP income statements with

11 capital expenditures, you're not throwing off
12 large amounts of cash. And when you look at
13 an income statement, I just want to say this,
14 you're building facilities where the cost of a
15 facility is being a billion dollars and you're
16 writing it off over 40 or 50 years because

17 you're building a bridge, tunnel, or 100

18 years. So when you use an income statement,
19 you're using a surrogate called depreciation,
20 which a billion dollars spread over 80 years
21 is not a large dollar amount. The actual bond
22 issuance cost of the debt are paid off over 30
23 years. When you begin to factor that in,
24 which is what we did on Exhibit B, cash flow

25 statement, that's more realistic as to when

 

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2 the dollars are going out to actually pay for
3 that investment.

4 So GAAP income statements are

5 fine, but when you have long-lived assets like
6 that, it does not really give you a true cash
7 picture of dollars and it makes you look like
8 you're earning dollars now because you're

9 going to get life out of that bridge well

10 beyond the bonds that you're paying, but the

il money was put up front and has to be paid

12 earlier than you'll recognize in here.

13 Q In your last answer, are you
14 comparing a GAAP income statement to a cash
15 flow statement?

16 A I'm saying that's one of the

17 disconnects when you look at a net income

18 statement, when you're building these

19 long-lived assets, to what we demonstrated on
20 Exhibit B is when the cash is coming in and
21 the cash is going out.

22 Q So you prepared a cash flow

23 statement for the ITN as Exhibit B to your

24 affidavit. Does The Port Authority prepare

25 income statements for the line departments

 

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2 that comprise the ITN?

3 A Schedule E, I believe, of the

4 annual report, I don't have the annual report
5 in front of me, but that's published

6 financials and it shows net income by

7 facility, by facility, and then we roll it up

8 into the various departments.

9 Q Did you or someone else at The
10 Port Authority do a comparison of what an
11 income statement for the ITN would show
12 compared to the cash flow statement it

13 attached as Exhibit B to your affidavit?

14 A No. The income statement is

15 prepared every year, so it's there, and the
16 cash flow statement was in direct response to
17 the statements that were being made by the

18 AAA, and that directly addressed the

19 statements of the AAA, and these are prepared
20 every year, as a matter of fact, the net

21 income statements, as part of the year-end

22 closing.

23 QO Is it correct that depreciation
24 would be included in the income statements?
25 A Correct.

 

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Q Do you include any depreciation in
your cash flow statement?

A No.

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2 delayed. So it went across the organization.
3 Once again, it's a corporate pool
4 of wants by departments, and then business

5 decisions are made around which ones get

6 financed. Believe me, it's not about, oh,

7 it's this one and we're going to do that one

8 because it's in TB&T and we're going to do

9 this one because it's in aviation and we want

10 fancy terminals. It's made on engineering
11 assessments and evaluations and this current
12 state of the existing assets that sort of

13 jives this business model.

14 Q Were significant amounts of Port
15 Authority funding being spent on the World

16 Trade Center during this period?

17 A Yes.

18 QO Was that one of the causes of

19 deferring projects such as the George

20 Washington Bridge, the Lincoln or the

21 Goethals?

22 A I don't know that you could say
23 that that was a cause of it. We were getting
24 sources from the FTA grants and insurance

25 proceeds to fund a lot of the World Trade

 

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Q Where does that come from?
A The consolidated bond resolution.
Q Are there any other ratios that

were part of your analysis on the need for
revenue enhancement for The Port Authority?

A We look at various rating agency
metrics, I don't have them in front of me
right now, but there's three or four metrics
that we know the ratings agencies are
concerned with, one being gross revenues to
total debt outstanding not exceeding five
times, and things like that. So we're aware
of some of the ratios and we always manage to
four or five of them.

So when we're doing our analysis,
we see which ones are going to be there over
our ten-year horizon, try to look ten years
all the time, and where we might have pressure
and where ratios may be approaching those
cutoff points or falling below those points.

Q Was the cost of the World Trade
Center at all part of the analysis of the need
for revenue enhancement for The Port

Authority?

 

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2 A Once again, we do things on a

3 corporate level. So all the revenues are in

4 there from the whole Port Authority, all the

5 expenses of the whole Port Authority are in

6 there, all the capital expenses of the entire
7 Port Authority are in those numbers, and all

8 the debt for the entire Port Authority. So

9 the ratios are built on the entire Port

10 Authority and not just on individual

11 facilities or departments.

12 Q Are you at all involved in the

13 drafting or issuance of press releases for The
14 Port Authority?

15 A Not really. I look at them for
16 any obvious flaws, but nothing. I don't write
17 the press releases.

18 Q Do you at times review a press

19 release before it's issued for accuracy or for
20 some other reason?
21 A Periodically, yes.
22 Q During the time period we've been
23 describing, where you and others within your
24 department were looking at the need for

25 revenue enhancement, were there also analyses

 

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167,000 jobs. Do you se that?

A Right.

Q Were you familiar with the capital
plan at the time?

MR. SOUTHWELL: Object to
the form.

Q Were you familiar with the new
$33 billion ten-year capital plan that's
referred to in the press release?

A Yes. And first of all, it's not
an actual plan. This is, once again, what
would capacity be based on the numbers we
projected. So it was not an actual plan put
together with projects listed in it or
whatever. It was more about if the toll
increase went in, this was the $4, $2 toll
increase, I believe, with the cash penalties
and everything else, that would fund what, and
we ran the model and we said then it would
increase capacity to about $33 billion.

So that became what they're
calling here the plan over ten years, that you
would fund $33 billion, potentially, over ten

years, without the specifics of the projects

 

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that make up the $33 billion.

Q Was there something that was being
referred to within The Port Authority in early
August 2011 as the ten-year capital plan?

A We always talk in ten-year
increments when we're doing planning and
Sizing, but there was no official listing of
projects to comprise a ten-year plan at that
point. We, as I told you before, in
Management and budget always have to list the
projects and the department spending and when
they think it's going to be spent. But as far
as an approved plan, there was only one year
annual approved plans for specific
expenditures during that period, not a
comprehensive ten-year plan at that point.

The last one was that 2007 plan.
Q And the ten years in the ten-year
capital plan, do you know what that refers to?
MR. SOUTHWELL: Where are
you referring to?
MR. MULRY: Where it says
new $33 billion ten-year capital

plan.

 

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A Right. That would be from 2012 to
2021. Is that ten years?

Q And the $33 billion figure
included the costs of all projects that were
anticipated to be begun in that ten-year
period and the $33 billion included the cost
to complete those projects even if it extended

out beyond ten years?

A No.
Q That's not your understanding?
A No. $33 billion is the capacity

in that ten-year window. The Lincoln Tunnel
helix project would be starting in the outer
years of that ten-year window, which would be
continuing for another eight or nine years, or
seven or eight years, excuse me. So that
Lincoln Tunnel project is a piece that's in
that ten-year -- I'm giving you an example,
but not all of it is done. You'll be starting
projects in those later years that obviously
won't be done, but at the spending, annual
spending each year in that ten-year window
that added up to $33 billion.

Q So the 33 billion --

 

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2 A Is capacity.
3 Q For those ten years, and includes

4 nothing beyond the ten years?

5 A Correct.

6 Q If you go to the second page of

7 that document, under the first set of bullet

8 points, it reads, "The Port Authority also

9 plans to direct 100 percent of the revenue

10 from the proposed PATH fare increase back into

11 the PATH system."

12 Do you see that?
13 A Yes.
14 Q Do you have an understanding of

15 what that means?

16 A I think, my interpretation of that
17 is the $0.25 increase of PATH, which comes out
18 to, if annually it's $100 million, 76 million
19 passengers annually, 25 percent is $18 million
20 a year, every bit of the $18 million, in

21 essence, ends up back in PATH because PATH has
22 a $3 billion capital program and it's a

23 deficit operation. So it's not a direct link
24 of a dollar being tracked directly back to

25 PATH.

 

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2 Q Is it correct that The Port

3 Authority doesn't have a way to direct revenue
4 from PATH into PATH projects?

5 A Correct. However, and just for

6 clarification, it's very easy to say that PATH

7 is a deficit operation. PATH has extensive
8 Capital needs, and the annual $18 million

9 incremental increase in revenues will never,
10 ever equate to wiping out the operating

11 deficit of PATH or the capital investment
12 needs of PATH. So call it marketing, call it
13 word-smithing, but the concept is still sound.
14 In essence, every dollar from raising that
15 PATH fare could be said to be going back into
16 a PATH system. It's a heavily subsidized

17 system to begin with.

18 MR. MULRY: I'd ask this
19 be marked as Exhibit 19.

20 (Plaintiff's Exhibit 19,
21 Letter dated August 18, 2011,

22 marked for identification, as of
23 this date.)

24 Q Are you familiar with that

25 document, a letter from Governor Christie and

 

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MR. SOUTHWELL: Yes.

6 QO Did the toll increase have an
7 effect on the revenues of the ITN?
8 A Yes, they increased the revenues

9 on the ITN by virtue of the increased toll

10 fare and usage.

11 Q Did the toll increase have an

12 effect on the expenditures of the ITN?

13 A One could say it marginally

14 impacts it because to the degree there's

15 higher E-ZPass usage, higher credit cards used
16 to pay these fees, and there's formulas on how
17 the back office is to process those things,

18 how they're handled. So, as I said,

19 marginally. And the program that was required

20 for the company to go in and change the toll

21 revenue systems and programs. So those are
22 kind of areas.

23 Q Did the issue of how much of a
24 toll increase there was going to be have an

25 effect on the revenues of the ITN from 2010 to

 

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1 M. FABIANO - CONFIDENTIAL
2 2020?
3 MR. SOUTHWELL: Objection
4 to form.
5 You can answer if you
6 understand it.
7 A If you're asking if the size of
8 the toll and fare increase impacted the
9 revenues of the ITN that would be generated
10 from tolls and fares, the answer is yes.
@ e Gas ee ae)
Dr wy Sn aa eae aa
Daa ae ne ee ma
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board of commissioners on August 19, 2011?
A Yes.
Q Did you make a presentation in

both an executive session and public session?

A Yes.

QO Which came first?

A Executive session.

Q Were you involved in planning what

information would go to the commissioners with
respect to their determination of whether to
approve a toll increase?

A When you're talking about
determination, if you mean did I develop with
my staff the slides that supported the toll
and fare increase and the rationale, the
answer is yes, that was created by my
departments for me.

OQ Do you know, in addition to your
presentation to the commissioners, what
information was presented to them?

A I assume this was all the
information presented to them.

Q Do you know if anything else was

presented to them?

 

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-@ee-

QO I show you what's been marked

5 previously as Exhibits 11 and 12.

6 A Yes.

7 Q If you could look at those, if you
8 could look through them quickly, are those

9 copies of the PowerPoints you presented in the
10 executive session and public session on

11 August 19, 2011?

12 MR. SOUTHWELL: Take your
13 time to make sure you go through
14 them.

15 A (Witness perusing.)

16 Yes, I believe these are accurate.
17 Q What was the purpose of your

18 presentation of this PowerPoint to the

19 commissioners?

20 A To present for their approval the
21 new toll and fare structure, as it says on the
22 opening of the first line, exec session. Sol

23 was laying out the toll and fare structure and
24 what it would be for the commissioners to have

25 a full understanding and a briefing of what

 

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2 was in it as far as the timing and the dollars
3 and some background on it for them to have my

4 opinion to weigh in when they approve or

5 disapprove the toll and fare structure.

6 Q Is it correct to say that you were

7 presenting a financial justification for the

8 toll and fare increase to the commissioners?
9 A I think that's accurate to state.
10 Q Since one of these was a public
11 session, is it also fair to say that you were

12 presenting this financial justification on
13 behalf of The Port Authority so that the
14 public would be aware of it?

15 A Yes.

16 Q And this is an important

17 presentation, is it not, to the commissioners?

18 MR. SOUTHWELL: Objection.
19 I'm just objecting to form, but
20 you can answer if you understand
21 what he's referring to.

22 A I believe it's an important

23 presentation. I am laying out what I believe,
24 as the chief financial officer, is important

25 information to help them make the decision on

 

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2 whether or not a toll and fare increase was
3 necessary, and this is just buttressing my
4 position that it was critical and that it was

5 something that could not be delayed.

6 Q And it would be important for you
7 to give them the complete story, your complete
8 understanding, and not leave anything out;

9 isn't that right?

10 MR. SOUTHWELL: Objection
11 to the form.

12 A I believe I did give them the full
13 story based on my perception of the necessity
14 and the need for the toll and fare increase.

15 Q If you look at, and we can go

16 along these together, they mirror each other
17 to a certain extent, the page numbers 206 and
18 218. What was the purpose of this slide on
19 current environment?

20 A The purpose of this slide is to
21 lay out the context of what happened between
22 the last toll and fare increase and the

23 current one. So what didn't happen from what
24 we originally thought we could afford to the

25 new reality we were dealing with, and the

 

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New helix as necessary, rebuilding the PATH
system, for instance, which is, in effect,
what we're doing.

Q What was the amount for investing

to rebuild the World Trade Center site?

A It says here $11 billion.
Q Is that your understanding, as
well?
A At that point in time, yes.
Grama)
ED Gl

Q If you could go to 207 and 221, do

you see where it says three year zero growth

operating budget?

A Yes.
Q What does that mean?
A That means The Port Authority's

operating expense budget for three consecutive
year was flat, zero growth. So 2.4 billion,
2.4 billion, 2.4 billion. I'm making up the

number 2.4, but zero growth in the operating

 

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determination that all the hearings would be
held in one day?

A No, I do not.

MR. SOUTHWELL: You mean
other than the public meeting in
Staten Island?

THE WITNESS: It was
added.

Q Was that a different day, as far
as you know, the added --

A I don't know whether or not that
was on a different day.

Q And you don't know whose
determination it was as to how and when to
schedule public hearings?

A No, it is not. I do not know that
because that's not under my purview at all.

Q If you could go to 210 and 224.
With respect to the two, and this is a general
question, with respect to the two PowerPoint
presentations that you have in front of you,
Plaintiff's Exhibits 11 and 12, is it correct
that at the top of each page there's a square,

and that's the PowerPoint slide?

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A That is correct.

Q In these two documents, there's
writing underneath each of the slides. Can
you describe what that is?

A Those are my talking points that I
use when I'm presenting the information at
exec session and also to the public session.

Q So just to understand it, is it
correct that the top in the box is the
PowerPoint that probably appeared on a screen
that people could see?

A Correct.

Q And the bottom written is your own
notes as to the oral presentation you were
giving to the board?

A Yes.

Q If you could look at the first
paragraph of the oral presentation, it says,
"This toll and fare increase will allow The
Port Authority to invest 25.1 billion in
critical infrastructure projects that will
provide an efficient, safe, and secure
transportation network for our customers who

rely on this agency every day."

 

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Do you see that?

A Yes.

Q Now, is that a reference to a
ten-year capital plan for 25.1 billion? If
you know.

A It's a reference to total agency
capacity to spend approximately 25.1 billion
over a ten~year window. That's all revenues
of The Port Authority, minus expenses, which
gives you net operating revenues, which will
allow you then to meet your ratios to decide
how much to invest.

Q That number that you've just
described, which is 25.1 billion in this
presentation, was that number 33 billion in
the original announcement?

A I believe that was the number that
was used in the original announcement.

Q Do you know how that number went
from 33 billion to 25.1 billion?

MR. SOUTHWELL: Objection.
I think you're mischaracterizing.
I mean, I think the witness said

the number in the estimate is 33.

 

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2 that within The Port Authority is substantial
3 investment in the ITN well beyond what we can
4 currently afford.

5 Q The $25.1 billion of capital

6 investment that's referred to there is

7 25.1 billion of capital investment for the

8 entire Port Authority?

9 A That is correct.

10 QO It doesn't refer to 25.1 billion

11 of capital investment for the ITN?

12 A No.
13 QO You didn't present the
14 commissioners with the amount of capital

15 investment that would be expended within the

16 ITN, did you?

17 A During the time of the toll and
18 fare increase?

19 QO Correct.

20 A No. We were not presenting a

21 capital plan at that point in time. What we

22 were doing was authorizing the toll and fare
23 increase, and the capital plan would be

24 developed in accordance with the normal

25 schedule, which was generally presented in

 

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December of each year.

Q This talks about $25.1 billion of
capital investment, yes?

A Yes.

Q Is part of that $25.1 billion of
capital investment, capital investment for the
ITN?

A Yes.

QO You did not tell the commissioners
what part of that capital investment amount
would be attributable to the ITN?

A No, I did not. I did later on, I
believe, mention the types of projects and
investments that would be allowed to be made
by virtue of the fact -- on page ten, or
AAA 226, we start talking a little bit about
the benefit of tunnels, bridges and terminals,
on 227, PATH, just generalities, no specifics
on any of the projects, but the type of
capital investment across the organization
that we would be making.

Q At the bottom of that page we were
looking at, 210 and 224, it says, "This

capital plan will also benefit," and it goes

 

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2 on. What capital plan is being referred to

3 there?

4 A $25.1 billion of ten-year capital
5 plan.

6 Q Was there a capital plan or not a

7 capital plan?

8 A No, that's just a term. I mean,
9 if we're going to hang our hat on a phrase,
10 there was no official adopted capital plan at

11 this point in time.

12 Q Was there --
13 A For this. We were still operating
14 under the existing one-year annual approved

15 budget by the commissioners for capital

16 spending. What we do, as I mentioned before,
17 in budget is we tell the commissioners what we
18 can approximately afford over a ten-year

19 window, and it helps them with some of the

20 projects when we actually do approve specific
21 budgets.

22 Q Within The Port Authority at this
23 time, August 2011, was there a document that
24 listed capital projects comprising

25 approximately 25.1 billion that people within

 

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2 to further on in that.
3 Q The last line of that page, "This
4 capital plan will also benefit the region by

5 generating 131,000 jobs," right?

6 Do you see that?
7 A I see that.
8 0 That's for the entire Port

9 Authority, correct?

10 A Not The Port Authority; the
11 region. The capital plan generates
12 construction jobs and warehousing jobs and

13 trucking jobs. That's from the chief

14 economist's office, they do that economic
15 modeling of what a dollar of investment,

16 depending on where it is invested, would
17 generate throughout the region and the

18 economy.

19 Q And those are generated by

20 projects for the entire Port Authority,

21 correct?
22 A Yes.
23 Q You never gave the commissioners

24 an estimate of jobs that would be created by

25 ITN projects?

 

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2 A No.
3 Q And that refers to $7.6 billion in

4 wages and $30 billion in sales, do you see

5 that?
6 A Yes.
7 Q And again, that's with respect to

8 projects for the entire Port Authority, right?
9 A Yes.

10 Q And you did not give the

11 commissioners any estimates of wages or sales
12 to be generated by ITN projects?

13 A No. And those numbers, once

14 again, for clarification, were prepared by the
15 chief economist's office.

16 Q If you could go to, you had

17 referred to this before, page 226 and 211. On
18 211, this refers to the Bayonne Bridge raise
19 the roadway project.
20 A Right.
21 Q Why is it necessary to raise the
22 Bayonne Bridge?
23 A Right now the Bayonne Bridge is
24 height challenged as far as the critical port

25 infrastructure business of cargo ships to move

 

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2 through our ports. To be able to access the
3 New Jersey ports, the marine terminals, which
4 is massive cargo facilities and processing

5 centers for The Port Authority, the new post

6 Panamax ships that will be coming in in 2014,
7 they will be bringing in bigger ships and they
8 will not be able to fit under the Bayonne

9 Bridge. So for us, it is critical that the

10 infrastructure and the rail system that we

11 develop on the ports to handle all this cargo,
12 that business continues to come to the port,
13 which is where most of these goods are

14 expended, in the port region.

15 Q What line department does the

16 raising of the roadway for the Bayonne Bridge
17 fall under?

18 A Tunnels, bridges and terminals,
19 which is part of the ITN.
20 Q Is the raising of the bridge
21 roadway a benefit to the port commerce line

22 department?

23 A I believe it's a benefit to the
24 entire Port Authority by keeping -- once
25 again, pooled revenue agency, significant

 

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pieces of our business could be impacted if we
don't have the ability to bring in the cargo
that we need to for the port operations.

Q How do you generally allocate with
respect to a project which line department
that project will be allocated under?

A When a facility is certified and
established by The Port Authority, it's
determined where that facility belongs. So
Bayonne Bridge is part of the tunnels, bridges
and terminals department, it's an automotive
crossing.

Q If you could go back to
Plaintiff's Exhibit 10, if you look on page
202, four paragraphs down there is a reference
to Commissioner Sartor.

A Yes.

Q Plaintiff's Exhibit 10 says that
Commissioner Sartor asked how The Port
Authority would handle funding for the World
Trade Center site above the $11.3 billion
budget if it becomes necessary.

Do you see that?

A Yes.

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2 QO Do you recall Commissioner Sartor
3 asking that at the executive session?

4 A Not particularly.

5 QO If you could read the, well,

6 what's in italics, it appears to be a

7 response, "We would need to push out other

8 projects in the capital plan to accommodate

9 any additional increases to the World Trade

10 Center budget."

11 Do you recall someone answering
12 the question in that session?
13 A That someone would have probably

14 been me based on these executive notes.

15 Q Do you recall answering the

16 question?

17 A I recall being at the meeting.

18 The specifics of answering individual

19 questions at this point I don't recall, but

20 that would not be something that I would not

21 have said.

22 QO Whether or not this was something
23 you said, is that accurate, based on your

24 understanding at the time?

25 MR. SOUTHWELL: What

 

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2 specifically?
3 Q That The Port Authority would need

4 to push out other projects in the capital plan
5 to accommodate any additional increases to the
6 World Trade Center budget.
7 A Conceptually that is accurate
8 because, once again, you're dealing with
9 annual capacity to spend dollars, as well as
10 an overall ten-year plan. So to the degree an
11 individual project exceeds in one year,
12 something else cannot fit in that year and you
13 move it out to the next year or whatever, but
14 over time you're still balancing to your
15 $25.1 billion, and there will be puts and
16 takes in any event.
17 Q Two paragraphs down there is a
18 reference to a question from Commissioner
19 Steiner.
20 A Right.
21 Q On whether staff had ever
22 calculated tolls from 40 years ago to today
23 and what they would be based on increases to
24 the consumer price index.

25 A Right.

 

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AFTERNOON SESS ION
(Time noted: 1:53 p.m.)
MICHAEL FABTANO, resumed
andtestified as follows:
CONTINUED EXAMINATION
BY MR. MULRY:

Q Mr. Fabiano, I'll show you what's
been previously marked as Plaintiff's
Exhibit 14, which is a copy of your affidavit
and exhibits.

A Okay.

Q This is an 1l-page affidavit and
Exhibits A through F, correct?

A Correct.

Q Exhibit F is a copy of a
transcript of your statement to the board of
commissioners, correct?

A It is a copy of the presentation
that I made at the public session, correct.

Q If you look just quickly through
Exhibits A, B, C, D and E.

A Yes.

Q Those Exhibits A, B, C, D and E,

those were not presented to the board of

 

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commissioners in August of 2011, correct?

A Correct.

Q When were those exhibits created,
A, B, C, D and E?

A In response to the litigation.

Q If you could turn to paragraph
five of your affidavit, on page three. This
refers to a 10.786 billion dollar preliminary
capital plan for the ITN facilities for 2011

to 2020. Do you see that?

A Yes.

Q Do you know what that refers to?
A Yes.

QO What is that?

A That represents us putting

together, once again, what we call a $10.78
billion -- us being management and budget
department, building what we believe is
capacity and taking the list of the various
projects from all the departments and add
perceived spending and what we saw fitting in
there during that time frame.

So this is a component of the

entire $25 billion capital program that we

 

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said was the capacity window.

Q Exhibit A is a copy of the
preliminary capital plan for the ITN?

A Exhibit A represents the
facilities at a facility level and the dollars
spending by year for the ITN during the period
2011 to 2020.

Q And that's the preliminary capital
plan for the ITN for that period?

A Yes.

Q You did not present a $10.786
billion preliminary capital plan for the ITN
to the commissioners in August, correct?

A Correct. As I mentioned earlier,
this was developed in response to the
affirmations that the toll revenues that were
being collected were in excess of the capital
expenditures and the operating expenses of the
ITN, and this rebuts -- which is our rebuttal
to your litigation.

Q Had you ever seen a document like
this prepared within The Port Authority before
you prepared Exhibit A for this affidavit?

A No.

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Port Authority?

A Correct, and those dollars are
included in that, yes.

QO Now, Exhibit B, it's not a
document that was presented to the board of
commissioners in August of 2011, correct?

A That's correct.

Q And it's not an analysis that was
presented in some other form to the board of
commissioners in 2011?

A No.

Q This type of document, Exhibit B,
is this the type of document that had been
prepared, in your experience, previously in
the Port Authority's ordinary business?

A Not to my recollection. This was
directly in response to the AAA assertions and
their claims. Quite frankly, it was never,
ever even considered that the network was
throwing off additional excess cash at any
time in the past. It's always been considered
to be a bit of a drag on the rest of The Port
Authority, with or without those toll

increases.

 

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2 finish some of the expenditures you're making.
3 So conceptually, you would have used your
4 reserve fund. But this is called appropriated

5 reserve, the capital paid with cash is called

6 appropriated reserves. That's what we call
7 it.
8 Q This may not be a question that's

9 related directly to Exhibit B, but as we're on
10 the reserve funds, if we're looking at

11 proceeds from bonds that have been issued,

12 where do the proceeds from bonds issued by The
13 Port Authority go as a financial matter ona
14 corporate level within The Port Authority?

15 A Proceeds from bonds sit in the

16 capital fund, and they do not flow down. So
17 any unspent bond flow fees, if that's your

18 question, do not flow down at the end of the
19 year, they stay in a separate account called
20 the capital fund, and that's in our statutory
21 statements. So those bond proceeds sit there,
22 and it's where those dollars are used to
23 direct pay for cash, and those bonds proceeds
24 are used up in that manner. But they never

25 flow into reserves. Bonds proceeds do not

 

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flow into reserves.

Q Because the bond proceeds don't
flow into either the general reserve fund or
the consolidated bond reserve fund?

A That is correct.

QO And the bond proceeds on
Exhibit B, is it correct that they would be

part of the 50 percent cash, 50 percent debt

column?

A I'm not showing bond proceeds
here.

Q Is the 50 percent debt in the

final column represented in a sense on
Exhibit B because it is 50 percent of the

capital paid with cash on a cash basis?

A No.
Q No?
A No. The debt service that you see

on Exhibit B represents the outstanding, that
5827 number --

Q No, I'm up, actually, at capital
paid with cash.

A That's reserves.

Q Oh, that comes from the reserves,

 

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Q If you can go to Exhibit C. What

7 is Exhibit C?

8 A Exhibit C is basically the

9 facilities that comprise the first column that
10 makes up this Exhibit B, first column, 2007 to
11 2010. This is by year, these are the ITN

12 network, basically, Holland Tunnel, Lincoln

13 Tunnel, George Washington Bridge, revenues,

14 expenses, capital paid with cash, debt

15 service, going through, driving these same

16 numbers, the same as the summary is on

17 Exhibit B, taking it to a facility level on

18 Exhibit C. And you see the numbers on the

19 bottom, 636, 636.
20 Q Is this a document that's
21 ordinarily prepared in the course of Port
22 Authority's business?
23 A No, this was done exactly when
24 this was done (indicating) to make sure we

25 tied in individually, and this is the roll-up

 

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of doing that (indicating). So one off.

Q And Exhibit C, the summary of cash
flows in Exhibit C is not something that was
presented to the board of commissioners in
August 2011?

A No.

Q One of the entries, it appears at
least twice, under revenues and operations and
operating expenses is access to regions

core/capital infrastructure fund.

A Yes.

Q Are you familiar with what that
is?

A Yes.

MR. SOUTHWELL: Just to be
clear, I think it only appears
once. I mean, it appears in the
actual 2010 column and then in the
sum column.

MR. MULRY: I was just
referring to the name that we just
described.

THE WITNESS: The line

item.

 

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MR. SOUTHWELL: To the

left?
MR. MULRY: Yes.
MR. SOUTHWELL: Got it.
sorry.
Q The real question is: Are you

familiar with what that means?

A Yes.
Q What is that?
A Access to the region's core was

the mass transit tunnel that The Port
Authority waS participating in with New Jersey
Transit and the State of New Jersey and the
federal government. That was the project that
Governor Christie suspended and terminated.

We were going to be a participant in that.

Q What is the capital infrastructure
fund?

A Once the ARC money was not used
for the tunnel, this became, what we have now
is the Lincoln Tunnel access program projects,
and those are the expenditures for those
roadway projects that we are building that

have been certified as part of the Lincoln

 

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approved. But the program itself was designed
to be up to a dollar amount.

0 I'll try to clarify this.

What was the ARC project projected
to be funded for?
MR. SOUTHWELL: The cast?

A Total amount for The Port
Authority, up to $3 billion was going to be
The Port Authority's commitment for ARC.

MR. SOUTHWELL: For the
cost?
THE WITNESS: Yes.

Q That's the cost of what The Port
Authority expected it would pay if the ARC
project went fully to completion?

A Yes.

Q So that's what was projected, that
money was not necessarily spent, correct?

A Correct.

MR. SOUTHWELL: But you're
assuming that that money existed.
It's not like it was --
A It's not a pot.

MR. SOUTHWELL: -- a pot

 

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of money that was that money.
MR. MULRY: No, I'm not
assuming that.
MR. SOUTHWELL: Your
question seemed to suggest that
you were assuming that.

MR. MULRY: No.

Q The ARC project was up to
$3 billion.

A Uh-huh.

Q Was money spent on the ARC
project?

A Yes, I believe close to, I want to

say 280 or up to 280, 290 million is my

estimate.

QO What is the capital infrastructure
fund?

A Capital infrastructure fund, on

this term here, before we officially
designated it as the Lincoln Tunnel access, we
put it in as the capital infrastructure fund.
That represents $1.8 billion of money that was
previously going to be utilized for ARC

related projects, we're using those dollars on

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the Lincoln Tunnel projects, which is these
roadway and bridge repair projects to bring
the traffic into the Lincoln Tunnel.

Q Are there any amounts remaining
that were designated to go for the ARC project
that appears somewhere as a line item on The
Port Authority finances?

MR. SOUTHWELL: Objection,
mischaracterizes. I think the
witness was a little unclear.
It's not as though it was a pot of
money of 1.8 billion that you're
asking where else is it. There's
not a pot of money.

Q $1.8 billion is an amount that The
Port Authority anticipates spending on the
Lincoln Tunnel project?

A Over the next seven or eight
years, correct.

Q And that's why that 1.8 billion
appears on the capital plan, correct?

A Right.

Q Do other capital infrastructure

fund line entries appear on the capital plan?

 

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2 A Yes. The balance, approximately
3 the difference between what was spent
4 originally on ARC, we have it as for future
5 capital infrastructure projects as a reserve

6 sitting out that is subject to being

7 identified with a specific project, but those

8 dollars are in the outer years.

9 Q Is that roughly $995 million?
10 A 976; nine something.

11 Q Close to a billion dollars?

12 A Yes.

13 Q And that's money that's in the

14 capital plan?

15 MR. SOUTHWELL: It's not

16 money.

17 A It's not money. It's a line item.
18 Q It's a line item of dollars that

19 are in the capital plan to be expended in the
20 future?

21 A Yes.

22 Q But that is not attributable to
23 any project at this time?

24 A Correct. It's a component of

25 available capacity.

 

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Q If you don't have a project that's
6 going to go with it at this time, why is it
7 that you need a $975 million place holder; is
8 there a reason you couldn't simply reduce the
9 capital plan by $975 million?

10 A Why would I reduce the capital

bh
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plan? I did not set up a capital plan.

That's a place holder, once again. QD

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No

 

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Q Could you go to Exhibit D.

A Yes.

Q What is Exhibit D?

A D is doing the cash flows for the
projected period. C was history, ‘07, '08,
"09, '10. And D is doing '11 through '20 on
the same exact basis. It goes onto the second
page. That's the middle column of B,

Exhibit B, $2853.9. So all that is is taking
the same exact thing that you did for the '07
through '10 period, and through the projection
period doing the same thing with anticipated
capital expenditures and such.

QO This document, Exhibit D, was
prepared for the litigation, correct?

A Correct.

Q It was not presented to the board
of commissioners in August 2011?

A No.

Q Is this type of document,

Exhibit D, prepared in the ordinary course of

The Port Authority's business?

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A No.

Q Could you please go to Exhibit E.
What is Exhibit E?

A Exhibit E is the line item detail
of the third column of Exhibit B, the same
exact breakout.

Q And this document was prepared for
the litigation?

A Correct.

Q It was not presented to the board
of commissioners in August 2011?

A No, it was not.

Q Is this a document that is
prepared in the ordinary business of The Port
Authority?

A No.

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Well, does this chart represent a
21 cash flow analysis that shows the ITN cash

22 flow going positive by 2013 and remaining

23 positive?

24 MR. SOUTHWELL: Asked and

25 answered. He explained what it

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was. It was an academic exercise,
not actuals.

A Based on the numbers on the bottom
of this, on this schedule, that's what this
shows. But the components on what's making up
these elements I can't speak to at this point
in time. I don't know what these numbers are,

as I said.

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You had mentioned, and I believe

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it's built into Exhibit B of your affidavit, a
toll increase in 2018.

A CPI.

Q Does The Port Authority plan a
toll increase in 2018?

A No. What that is is the formula
that exists still to this day from the 2007
toll and fare increase that says once you
raise the toll and fares, the fares are set,
and then from that point on you begin to

calculate a CPI, and when the CPI ona toll,

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2 as long as you have cash tolls and E-ZPass,

3 reaches a full dollar, you are authorized to

4 increase the tolls by one there. That was the
5 2007 toll and fare increase. That language

6 still exists, so that is out there and it

7 still exists.

8 So from our perspective, when

9 we're doing long-range forecasting, once

10 again, politics aside, we're looking at, okay,
11 this is authorized as of now, we're going to
12 assume three percent growth rate on CPI

13 beginning at the end of the last toll
14 increase. So the last toll increase goes in

15 effect December of '16, we say December of

16 '16, three percent on that gives you a number.
17 December '17, three percent gives you a
18 number. December of '18, three percent gives

19 you that number where you've now broken a

20 dollar on the cash toll. So at that point,

21 and figuring in March of '19, that's where I
22 said we originally estimated it might be '18,
23 then when we said it's the end of the year for
24 '15, not the beginning, that it would actually

25 probably happen in '19, the toll and fare

 

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increase, if it was an automatic CPI still in
effect at that time. And that is authorized
and still under the 2007 increase.

So when we do our modeling, we
assume that that's going to be a part of it.
So those numbers were baked into my original
Exhibit B, cash flow, only when we do it back
then for Exhibit B, we expected that to happen
in '18, not '19. In fact, what it did was
increase the revenues that we were projecting
in that original Exhibit B. So this year

we've adjusted that out to '19.

 

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Q Was that something that you
advised the commissioners of in August 2011,
that your numbers included an automatic CPI
toll increase in 2018 or 2019, within that
ten-year period you were looking at?

A For capacity? No, it never came
up in specific where we were talking about
that we would have capacity.

Q So as far as what you said to the
commissioners in August 2011, you never said
anything about a potential additional toll
increase in 2018 or 2019?

A No.

 

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combined with the existing revenues of the
rest of The Port Authority from all sources
that would then be able to flow down to be
able to finance capital. So all the
businesses, aviation, port, TB&T in this case,
PATH, economic development projects such as
the teleport revenues, the sum total of all
those revenues that exist right now, plus the
incremental revenues that would be generated
by this toll and fare increase, combined give
me a capital capacity window over a ten-year
period of $33 billion agency-wide. It's not
these dollars from this toll and fare
generates $33 billion capacity. It's the
total Port Authority existing revenue stream,
plus this incremental revenue stream, because
our capacity before this was in the
$20 billion range and this incrementalizes it.
Q You referred to the overall Port
Authority capacity and you were asked various
questions today about the agency's existence
as a pooled revenue agency. Can you explain
why that's important to a financial picture of

The Port Authority?

 

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A Well, since 1931, when the general
bond reserve fund was created, in order to be
able for The Port Authority to finance
facilities and take on new facilities and
projects, they needed to have the revenue of
the combined existing facilities used to
convince the bondholders that there was value
here and, in fact, they would get paid.

So it's always been the pooled
revenue concept, that is the sum of the whole,
because many times when a business is starting
up, their revenues aren't going to be there
initially to support it, but it's that concept
of other facilities would support it follow
such time as it was able to be self-
sustaining, potentially, or if not, add to the
mix, recognizing that The Port Authority's
mission isn't just to generate profit, The
Port Authority's mission exists to serve the
public and facilitate transportation, regional
development, as well as the movement of goods
and commerce efficiently throughout this
region, and we are one of the largest

enterprises that do that, I think, in the

 

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2 the net income statement and the annual report
3 for representative purposes, but that is it.
4 QO The bondholders for any of The

5 Port Authority consolidated bonds can look to

6 the revenues of all Port Authority line

7 departments in the event of default?

8 A The term is equally and ratably
9 secure. So they all -- doesn't matter when
10 your bond was issued, number 135 is the

11 equivalent of 185 and you all stand equal in

12 terms of getting paid on your debt service and
13 interest pavements.

14 Q And they can all look to the

15 revenue of all the line departments --

16 A The entire Port Authority. No one
17 is excluded.

18 MR. MULRY: Thank you.

19 MR. SOUTHWELL: Before we
20 go off the record, pursuant to the
21 protective order, I would like to
22 designate the transcript

23 confidential. Certainly there are
24 a number of exhibits that are also
25 being designated confidential. So

 

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